Case 2:04-cr-20223-.]PI\/| Document 108 Filed 05/19/05 Page 1 of 2 Page|D 192

IN THE UNITED STATES DISTRICT COURT
F()R THE WESTERN DISTRICT OF TENNESSEE.".§ §

    
 

WESTERN DIVISION f q F
UNITED sTATEs oF AMERICA, ) (¢l;{~r" €T§Fb§f" 51
Plaintiff, § l
v. § No. 04-20223 B
MICHAEL PRINCE, §
Del`endant. §

 

 

Before the Court is the Governrnent’s Motion for lnquiry lnto Financial Status of
Defendant filed on March 24, 2005. United States District Judge J. Daniel Breen referred this
matter to the Magistrate Judge for determination After review, the Court concludes that
Defendant’s Conditions of Release should be amended to require Defendant to actively seek full-
time employment and report his efforts to Pre-Trial Services. Pre-Trial Services shall submit a
report to the Court in 60 days.

Pursuant to the Order of Reference, any objections to this Order shall be made in Writing
Within ten days after service of this Order and shall set forth With particularity those portions of

the Order objected to and the reasons for those obj ections.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

IT IS S() ORDERED.

Date: Wf?f;; /J:, 200~‘/

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with Rule 55 and/or 32(_b) FHCrP on l g v QS

   

UNITED `sATEs DISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:04-CR-20223 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

